
LYONS, President,
concurred,
with ROANE and FLEMING,
that the decree should be reversed; and the following decree entered in the room of it:
“The court is of opinion, that the appel-lees in this cause were liable to satisfy the execution of the appellants in the proceedings mentioned, in so far as the interest of David Bradley' in and to them respectively extended at the time of executing the deed of emancipation in their favour; but it being uncertain what that interest really was, whether the whole or a fifth part, or any proportion of them, an enquiry relative thereto should be directed by the said court of chancery, the result of which should determine the extent of *the liability of the appellees to satisfy the execution aforesaid. And this Court is further of opinion, that although the bill of the appellees in question has not suggested any fraud or collusion in the other parties to their prejudice, or that there was any other property of the said David Bradley, or any other persons, which could contribute to their exoneration and relief, yet, in this new case, they should not thereby be precluded from now instituting such enquiries in the said court of chancery, if they think proper; and that the decree aforesaid is erroneous: Therefore it is decreed and ordered, that the same be reversed and annulled: And the cause is remanded to the said court of chancery with directions for that court to institute the first mentioned enquiry by an issue or otherwise; and permit the last mentioned enquiries also to be instituted, if desired by the appellees, or their counsel: and on the result of all or any of the said enquiries being reported to the court, that that court will so modify its proceedings, as, keeping in view the just rights of the appellants aforesaid, will reserve to the appellees as much as possible of the liberty intended to be granted to them by the deed of emancipation aforesaid, taking care to subject the property, if any, of the said David Bradley, or of John Harrison, deceased, in the first instance; and to equalize the servitude of the appel-lees as much as possible, if such a proceeding is found to be indispensable.”
